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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

LISA DOMSKI,

                       Plaintiff,                            Case Number 23-12023
v.                                                           Honorable David M. Lawson

BLUE CROSS BLUE SHIELD
OF MICHIGAN,

                  Defendant.
________________________________________/

 ORDER REGARDING CERTAIN MOTIONS IN LIMINE AND ADJOURNING TRIAL

       This matter is before the Court on some of the parties’ motions in limine filed in advance

of trial. The Court has reviewed the submissions of the parties and heard oral argument on October

15, 2024 on the motions that were fully briefed. During the hearing, the Court announced from

the bench its decisions on the questions presented by the motions ready for adjudication and took

under advisement the defendant’s motion to exclude from trial an unproduced and unidentified

video on plaintiff’s amended disclosures (ECF No. 37) pending the plaintiff’s submission of the

disputed video for review.

       Several other matters remain outstanding because they were not fully briefed as of the

hearing date or were filed with leave after the motion in limine deadline. These are the defendant’s

motion in limine to exclude documents and testimony and objections to plaintiff’s (second)

supplemented mandatory disclosures pursuant to Federal Rule of Civil Procedure 26(a)(3)(B)

(ECF No. 61), the defendant’s motion for a protective order precluding plaintiff from calling

Rudolph Markupson to testify at trial pursuant to Rule 26(c)(1)(A) (ECF No. 66), and the

defendant’s motion to strike Jana Lance from plaintiff’s witness list and exclude plaintiff from

calling Ms. Lance to testify at trial pursuant to Rule 37(c)(1) (ECF No. 74). The Court also has
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granted the defendant leave to file one additional motion in limine. See ECF No. 79. The Court

has scheduled these matters for a prompt hearing.          However, the Court has reviewed the

submissions and determined that resolving the issues presented by the parties will not be possible

before the present trial date. The Court therefore will adjourn the date set for trial.

       Accordingly, it is ORDERED that the defendant’s motion to exclude evidence of alleged

religious beliefs the plaintiff never communicated to the defendant (ECF No. 33) is GRANTED

IN PART and DENIED IN PART for the reasons stated on the record. The plaintiff SHALL

NOT offer testimony or argument of her religious beliefs that she did not communicate to the

defendant to demonstrate the defendant’s motivations but may offer such testimony and argument

to support her claimed sincerity of her beliefs. The Court will entertain contemporaneous

objections about the extent of permissible testimony and argument on these matters.

       It is further ORDERED that the defendant’s motion to exclude references to its staff

reduction (ECF No. 34) is GRANTED for the reasons stated on the record. The plaintiff SHALL

NOT elicit testimony or make argument that the defendant’s employees were motivated to deny a

religious accommodation by a desire to reduce staffing costs.

       It is further ORDERED that the defendant’s motion to exclude evidence of the plaintiff’s

claimed religious beliefs and objections to plaintiff’s supplemented mandatory disclosures

pursuant to Fed. R. Civ. P. 26(a)(3)(B) (ECF No. 35) is GRANTED for the reasons stated on the

record. The plaintiff SHALL NOT offer into evidence Exhibits 55, 56, 57, 58, or 59 on her tardy

supplemented mandatory disclosures required by Rule 26(a)(3) (ECF No. 30).

       It is further ORDERED that the plaintiff’s motion to exclude and include certain evidence

(ECF No. 40) is GRANTED IN PART and DENIED IN PART for the reasons stated on the

record. The defendant SHALL NOT offer testimony or argument regarding collateral sources of




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income, such as unemployment insurance benefits, that the plaintiff may have received after her

termination. The defendant may offer evidence on its defense of failure to mitigate damages. The

plaintiff’s requests to exclude arguments regarding undue hardship that might be caused by the

economic impact of a verdict on the defendant, and to include documents regarding religious

teachings are DENIED as moot. The motion is DENIED without prejudice in all other respects.

The Court will entertain contemporaneous objections as to these matters. The defendant also is

cautioned to heed the Court’s instructions, specified on the record, regarding certain improper

arguments. Failure to do so would be grounds for sanctions or a mistrial.

       It is further ORDERED that the plaintiff’s motion to compel the de bene esse deposition

of Bruce Henderson and sanction defendant for violating Rule 45 (ECF No. 55) is DENIED for

the reasons stated on the record. The defendant’s motion to quash the non-party subpoena issued

to Bruce Henderson (ECF No. 68) is GRANTED.

       It is further ORDERED that the trial is ADJOURNED to November 6, 2024 at 8:30 a.m.

                                                           s/David M. Lawson
                                                           DAVID M. LAWSON
                                                           United States District Judge

Dated: October 17, 2024




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